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                                                          June 17, 2025

  VIA ECF
  Honorable Arlene R. Lindsay
  U.S. District Court- EDNY
  814 Federal Plaza
  Central Islip, NY 11722

           Re:       Aparicio v. Pediatric Dentistry of Suffolk County II, PLLC et al.
                     Case No. 24-CV-00377


  Dear Justice Lindsay:

          We represent the defendants in the above-captioned action. Pursuant to the Court’s
  Individual Practices 1.C, we write, with Plaintiff’s consent, to respectfully request an extension of
  the discovery deadline in this matter., Specifically, the parties request an extension of the fact
  discovery deadline, which is currently set for July 7, 2025 (ECF No. 19), to September 15, 2025
  and an extension of the expert discovery deadline to December 15, 2025.
          There is good cause for this request. The parties have worked diligently and cooperatively
  to conduct written discovery and exchange documents, and are now ready to move onto
  depositions. However, due to extensive summer travel schedules of several of the necessary
  witnesses, the parties have not been able to schedule all depositions within the current discovery
  timeframe. The additional time requested will permit the parties to conduct depositions of all
  necessary witnesses, without having to interfere with travel schedules, before they move onto
  expert discovery and dispositive motions.

         Accordingly, the parties respectfully request that the Court order the following revised
  discovery schedule:

           September 15, 2025: Deadline for the completion of all fact discovery.
           October 15, 2025: Deadline for service of all affirmative expert reports.

           November 14, 2025: Deadline for service of all rebuttal expert reports.

           December 15, 2025: Deadline for expert depositions.

           January 9, 2026: Deadline to take first step in the motion process for dispositive motions.
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         A proposed order is attached hereto. As set forth above, all parties agree to this revised
  schedule. This is the parties’ first request for an extension of the discovery deadline in this matter.

         Thank you for your attention to this matter.



                                                 Respectfully submitted,

                                                 /s/ Colleen O’Neil
                                                 Colleen O’Neil, Esq.



  cc: All counsel of record via ECF
